Case: 1:21-cv-00564-CAB Doc #: 12-1 Filed: 04/26/21 1of1. PagelD #: 120

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, Case No.: 1:21-CV-00564
Plaintiff,

Vv.

VISTA STREET, LOS ANGELES, CA

LOS ANGELES COUNTY ASSESSOR

AIN 5526-005-024

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)

REAL PROPERTY LOCATED AT 806N. )
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Defendant. )
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(PROPOSED) ORDER TO APPEAR PRO HAC VICE
GOOD CAUSE APPEARING THEREFOR;
IT IS HEREBY ORDERED that Attorney Victor Sherman, from the Law
Offices of Victor Sherman, is hereby permitted to practice Pro Hac Vice with

regards to the above-entitled matter.

DATED: April 23, 2021

 

UNITED STATES DISTRICT JUDGE

 
